Case 1:05-cv-01056-.]DT-STA Document 19 Filed 05/25/05 Page 1 of 5 oF><'J\ge|D_Af
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IN THE UNITED sTATEs DISTRICT CoURT 053 __ _
FoR THE WESTERN DISTRICT oF TENNESSEE "*25 45 " 00
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BOBBY TART and wife, LORETTA
TART, Individually; and ESTATE OF
ROBERT WALTER TART, by Personal
Representatives Bobby Tart and

Loretta Tart,

Plaintiffs,

JOHN DOES CORRECTIONAL
OFFICERS, JANE DOES
CORRECTIONAL OFFICERS,
BENDELL BARTHOLOMEW, Carroll
County Sheriff, STEPHEN
UNDERWOOD, Carroll County Jailer,
TERRY DICKEY, Chief Deputy, and
TOMMY DECANTES, each Individually )
and in their Oft`icial Capacities; CARROLL )
COUNTY SHERIFF’S OFFICE and )
CARROLL COUNTY, TENNESSEE, )
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vs. ) No. 05-1056-T/An
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Defendants.

 

ORDER PARTIALLY GRANTING AND PARTIALLY DENYING
MOTION TO DISMISS CERTAIN DEFENDANTS

 

The plaintiffs, Bobby Tart and Loretta Tart, individually and as personal
representatives of the estate of Robert Walter Tart, filed this action pursuant to 42 U.S.C.
§ 1983 against Carroll County, Tennessee, the Carroll County Sheriff’ s Department, Sheriff

Bendell Bartholomew and various other officers employed by the Sherit`f’ s Department. The

This document entered on the docket sheet ln compliance ’
with Flule 58 and.'or_?$‘ (a) FRCP on 22 §§ QOQ_Q @

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Sheriff` s Department and jailer Stephen Underwood filed a motion to dismiss on April 15,
2005 . Pursuant to Local Rule 7.2(a)(2), a response to the motion Was due on or before May
18, 2005. §§ Fed. R. Civ. P. 6(e). I-Iowever, plaintiffs have not responded to the motion
to dismiss, and have not requested an extension of time in Which to do so.

Defendant Underwood moves for dismissal of the action against him on the grounds
that service of process was insufficient Pursuant to Fed. R. Civ. P. 4(e), service of process
upon an individual may be made in accordance with the law of the state in which the district
court is located. Under the Tennessee Rules of Civil Procedure, service may be made upon
an individual by registered or certified mail, return receipt requested w Tenn. R. Civ. P.
4.04(10). However, “[i]f a plaintiff elects to serve a defendant With process by the method
of certified return receipt mail, the plaintiff must comply With the remaining provisions of
rule 4.04.” Boles v. Tennessee Farmers Mut. Ins. Co., No. Ml999-00727-COA-R3-CV,
2000 WL 1030837, *3 (Tenn. Ct. App. July 27, 2000). Thus, if the defendant is an
individual, the plaintiff must send the certified return receipt mail “to the individual
personally, or if he or she evades or attempts to evade service, by leaving copies thereof at
the individual’s dwelling house or usual place of abode With some person of suitable age and
discretion then residing therein,” or to the person’s agent for for service of processl l_cL,
quoting Tenn. R. Civ. P. 4.04(1).

In this case, a return receipt shows that the original summons and complaint were sent

to defendant Underwood at 200 Norandal Drive, in Huntingdon, Tennessee, Which is the

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address of the Carroll County Jail. The person who signed the return receipt was Fay Clark.
Defendant Underwood indicates that Ms. Clark is an employee of the Carroll County
SherifF s Departrnent. Thus, he contends that service was insufficient because it was neither
signed by him personally nor sent to his dwelling place.l

Although the defendant did not sign the return receipt personally, the record reveals
that counsel for the plaintiffs has requested the issuance of an alias summons for
Underwood, with an address of 59 Smith Avenue in McKenzie, Tennessee. The alias
summons was issued on April 29, 2005 , but no return has yet been made.

Federal Rule of Civil Procedure 4(m) provides that if service is not made on a
defendant within 120 days after the complaint is filed, the Court may, upon motion or sua
sponte after notice to the plaintiff, either dismiss the action without prejudice or extend the
time for service of process. The complaint in this case was filed on February 28, 2005.
Therefore, the 120-day period provided by Rule 4(m) will not expire until June 28, 2005.
Even though plaintiff did not respond to the motion to dismiss, the Court declines to dismiss
the action as to Underwood prior to the expiration of that 120-day period, particularly as an
alias summons has already been issued. If proper service is not made within the time
provided by the rule, the defendant may renew his motion to dismiss.

The Carroll County Sheriff’ s Department also moves for dismissal on the grounds

that it is not a separate entity that may be sued apart from Carroll County. As Carroll County

 

l Rule 4.04(1) requires service at an individual’s dwelling place only if the individual attempts to evade
service. Otherwise, the rule requires only that the individual be served “personally” or through an authorized agent

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itself has been sued, naming the Sheriff’ s Department as a defendant adds nothing to this
action. The Sixth Circuit has recognized that a sheriff’s department is not a separate, suable
entity. Matthews v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994); see also Jones v. Union
County, Tennessee, 296 F.3d 417, 421 (6th Cir. 2002) (where both county and sheriff’s
department were named defendants, plaintiff conceded that sheriff’s department could not
be sued). Therefore, the Carroll County Sherif`f’ s Department is not a properly named
defendant and must be dismissed

Accordingly, the motion to dismiss (doc. #14) is hereby DENIED as to defendant
Underwood and GRANTED as to the Carroll County Sheriff‘s Department.

IT IS SO ORDERED.

A-QaM

JA D. TODD
UN ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:05-CV-01056 was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Raymond T. Throckmorton
Raymond T. Thorockmorton
306 Gay St.

Ste. 101

Nashville, TN 37201

Terrance E. McNabb
S

101 Church St.

Ste. 400

Nashville, TN 37201

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Terrance E. McNabb
101 Church St.

Ste. 400

Nashville, TN 37201

Raymond T. Throckmorton
306 Gay St.

Ste. 101

Nashville, TN 37201

Honorable J ames Todd
US DISTRICT COURT

